  Case 8:13-cr-00121-TDC Document 88-1 Filed 09/15/15 Page 1 of 2
      Case 8:13-cr-00121-TDC Document 85 Filed 09/14/15 Page 1 of 2
            Case 8:13-cr-00121-TDC Document81-1 Filed 08/31/15 Page 1                       ~fY
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                              IN HIE UNITED STATES DISTRICT COURT
                                                                                                 c.~'"' -. to:
                                 FOR TilE I>ISTRICT OF MARYLANJ>                                 .J:',-
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UNITEJ> 51' ATES OF AMERICA                            *
                                                                                       By
                                                       *
               v.                                      *     CRIMINAL    NO. TDC-IJ-0121
                                                       *
OLUWASEUN               SANY A,                        *
                                                       *
                           Defendant                   *
                                                   *******

                                         ORDER OF FORFEITURE

        I.         The defendant. Oluwaseun Sanya. having been convicted by guilty plea ofa violation

of 18 U.S.c. ~ I029(b)(2). it is hereby ORDERED.             ADJUDGED,     AND J>ECREED as follows:

       2.          The Court has determined. based on the defendant's conviction on Count One of the

indictment and on the content of the plea agreement. as fUl1her amplified at the Rule II hearing

and the sentencing hearing. that the following property and monies are subject to forfeiture

pursuant to 18 U.S.c. ~ I029(c) and ~ 982(a)(2)(B): a money judgment in the amount ofS30,OOO.

       3.          Upon the entry of this Order. the United States Attorney General (or a designee) is

authorized to seize the forfeited property. whether held by the defendant or by a third party. and to

conduct any discovery necessary in identifying, locating. or disposing of the property subject to

forfeiture, in accordance with Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure.

       4.          Upon entry oftbis Order, the United States Attorney General (or a designee) is

authorized to commence any applicable proceeding to comply with statutes governing third party

rights, including giving notice of this Order.

       5.          The United States shall publish notice of this Order in accordance with 2 J USc.

S 853(n)(    I).

       6.          This Order shall become a Final Order as to the defendant's interests at the time of
  Case 8:13-cr-00121-TDC Document 88-1 Filed 09/15/15 Page 2 of 2
     Case 8:13-cr-00121-TDC Document 85 Filed 09/14/15 Page 2 of 2
         Case 8:13-cr-00121-TDC Document81-1 Filed 08/31/15 Page 2 of 2



sentencing.

        7.    The Clerk orthe Court shall provide copies or this Order to all parties or record.




                                                  :<         C)~
                                                   Hon. Theodorecang
                                                   United Stales District Judge




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